                Case 3:21-md-02981-JD Document 830-1 Filed 11/30/23 Page 1 of 3
                                      UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA

Case:   3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
        21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                    PLAINTIFF’S ATTORNEY:               DEFENSE ATTORNEY:
 Hon. James Donato                         Lauren Moskowitz,                   Lauren Bell, Jonathan Kravis,
                                           Yonatan Even, Gary Bornstein,       Michelle Chiu, Brian Rocca,
                                           Brent Byars, Andrew Wiktor          Kuru Olasa, Kyle Mach,
                                                                               Justin Raphael, Glenn Pomerantz
 JURY TRIAL DATE:                          REPORTER(S):                        CLERK:
 11/30/2023                                Kelly Shainline                     Lisa R. Clark

 PLF    DEF      TIME
 NO.    NO.      OFFERED ID REC DESCRIPTION                                                               BY
                 9:28 am        Court in session; all parties and jury present.
                                             Defendants call Paul Gennai -- direct examination.
                                             Witness shown demonstrative
        591                     X    X       Play Problem Statement (03/26/2019)                          LRC
                                             Screen recording of switching process from Android Pixel
        6712                    X
                                             phone to iPhone
                 9:55 am                     Cross-examination of Paul Gennai
 2903                           X    X       Slide deck titled, "Smartphone Purchase Journey 2018"        LRC
                                             Witness shown exhibit 1766
 8567                           X    X       No description provided                                      LRC
 8636                           X    X       No description provided                                      LRC
                 10:33 am                    Court in recess
                 10:50 am                    Cont’d cross-examination of Paul Gennai
                                             Email from P. Gennai to S. Krishnamachari re Play
 596                            X    X                                                                    LRC
                                             Distribution Project (01/12/2019)
                                             Witness shown exhibits 591, 136, 8523
 606                            X    X       No description provided                                      LRC
                                             "Email from P. Gennai to A. Kumar re Hiroshi Monthly
 588                            X    X                                                                    LRC
                                             Review: Thursday Next Week (10/21/2021)"
                 11:35 am                    Re-direct of Paul Gennai
                                             Witness shown exhibits 2903, 606, 136
                 11:39 am                    Jury in recess
                                             Court questions witness regarding exhibit 591.
                 11:47 am                    Court in recess
                 12:32 pm                    Court in session; all parties and jury present
              Case 3:21-md-02981-JD Document 830-1 Filed 11/30/23 Page 2 of 3

PLF   DEF   TIME
NO.   NO.   OFFERED ID REC DESCRIPTION                                                          BY
                           Defendants call Matt Weissinger -- direct examination
                           Undated presentation titled "Fortnite Mobile: Mobile
      10521         X X                                                                         LRC
                           Business Update/Deep Dive"
      7260          X X    5/15/2020 email from M. Weissinger                                   LRC
                           Presentation dated 7/27/2020 titled, "Project Liberty Update
      5528          X X                                                                         LRC
                           to the Board of Directors (Draft)" pgs. 1 and 12
            1:11 pm        Cross-examination of Matt Weissinger
                                   Witness shown exhibit 10521
              1:16 pm              Re-direct of Matt Weissinger
              1:17 pm              Defendants call Andrew Grant -- direct examination
      10010              X   X     7/29/2020 messages between T. Stone and A. Grant             LRC
                                   Blogpost dated 9/6/2018 titled, "Fortnite on Android
      10004              X   X                                                                  LRC
                                   Launch Technical Blog"
                                   Email from J. Sargent to A. Grant re "what services are we
      10005              X   X                                                                  LRC
                                   NOT using from Google Play? " (08/15/2019)
      10538              X   X     No description provided                                      LRC
      10540              X   X     5/5/2022 email from A. Grant to undisclosed recipients       LRC
                                   Undated webpage titled "Play Fortnite on Mobile Devices"
      6621               X   X                                                                  LRC
                                   Available at: https://www.fortnite.com/mobile
                                   Undated webpage titled "Play Fortnite on Android"
      6618               X   X                                                                  LRC
                                   Available at: https://www.fortnite.com/mobile/android
                                   Undated Fortnite download webpage Available at:
      6619               X   X                                                                  LRC
                                   https://www.fortnite.com/mobile/android/new-device
              1:54 pm              Court in recess
              2:16 pm              Cross-examination of Andrew Grant by plaintiff
                                   Witness shown exhibits 10004, 10005, 6619
              2:24 pm              Defendants play video depo of Han Stolfus
      812                X   X     Email from E. Gass to T. Stone re Update (03/27/2020)        LRC
      813                X   X     Email from E. Gass to H. Stolfus                             LRC
                                   Email from E. Gass to H. Stolfus re "Epic Games x Game
      814                X   X                                                                  LRC
                                   Space India" (06/12/2020)
                                   Email from C. Yang to K. Shin re "Epic Games App
      815                X   X                                                                  LRC
                                   Collaboration" (04/20/2020)
      10028              X   X     4/21/2020 Email from D. Song to L. Koh                       LRC
      10171              X   X     4/28/2020 messages between A. Shobin and H. Stolfus          LRC
                                   Undated presentation titled "Fortnite Mobile: Mobile
      10184              X   X                                                                  LRC
                                   Business Update/Deep Dive"
      10193              X   X     4/15/2020 email from H. Stolfus to L. Koh                    LRC
      10194              X   X     4/23/2020 email from H. Stolfus to E. Zobrist                LRC
      10196              X   X     4/30/2020 messages between E. Zobrist and H. Stolfus         LRC
                                           PAGE 2 OF 3
            Case 3:21-md-02981-JD Document 830-1 Filed 11/30/23 Page 3 of 3

PLF   DEF TIME
NO.   NO.   OFFERED ID REC DESCRIPTION                                                          BY
      10198         X X    7/17/2020 email from M. Weissinger to H. Stolfus                     LRC
            3:37 pm               Court in recess
            3:49 pm               Court discusses final jury instruction issues with parties.
            4:16 pm               Court in recess.
                                  Plaintiff has 299 minutes left
                                  Defendants have 1010 minutes left.




                                          PAGE 3 OF 3
